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                                                    #:167
Judge Dolly M. Gee
SCHEDULE FOR PHASE I

Case No.:    CV 23-9218-DMG (MRWx)                Title:   Pacific Pipeline Company, et al. v. Santa Barbara
                                                           County Planning Commission and Board of
                                                           Supervisors

                                      MATTER                                          COURT ORDERED DATE

TRIAL     [ ] Court [ ] Jury                                                                    n/a
Duration Estimate:

FINAL PRETRIAL CONFERENCE (FPTC)                                                                n/a
4 wks before trial


                                      MATTER                                          COURT ORDERED DATE

Amended Pleadings and Addition of Parties Cut-Off (by stip or motion, and includes            7-12-24
hearing of motions to amend)

Non-Expert Discovery Cut-Off                                                                    N/A
(includes hearing of discovery motions)

Motion Cut-Off (filing deadline)                                                              8/16/24

Settlement Conference Completion Date                                                         6-21-24

Joint Status Report re Settlement                                                             6-28-24

Administrative Record to be Delivered to PPC                                                  6/18/24

Motions to Supplement or Complete the Administrative Record                                   7/19/24

Defendants’ MSJ; Administrative Record to be Filed                                            8/16/24

PPC’s Cross-MSJ and Opposition to Board MSJ                                                   9/27/24

Defendants’ Reply on MSJ and Opposition to Cross-MSJ                                          10/25/24

PPC’s Reply on Cross-MSJ                                                                      11/22/24


Hearing on Cross-MSJs                                                                   12-13-24 @ 2:00 p.m.
